                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF ALABAMA
                                  SOUTHERN DIVISION
                                                                                  70Z0 FEB 1 2 P 3: G 6
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UNITED STATES OF AMERICA                                                                         - COURT

               v.                                     CR. NO. /I gPX         33
                                                                              -
                                                                              '494°1
                                                                                   4-
                                                             [18U.S.C. § 2241(c)
LEROY THOMAS JOYNER, JR.

                                                     INDICTMENT


The Grand Jury charges:

                                        COUNT 1
             (Aggravated Sexual Abuse: Sexual Act with child between 12 and 16)

       On an exact date unknown, but between September 2015 and September 2018, in Dale

County, Alabama, within the Middle District of Alabama, and in locations outside ofthe Middle

District of Alabama, the defendant,

                                LEROY THOMAS JOYNER,JR.,

did knowingly engage in and attempt to engage in sexual acts with the victim, C.S., a child who

had attained the age of 12 years, but had not attained the age of 16 years, and who was at least 4

years younger than the defendant, by using force against her or by threatening or placing her in

fear that she would be subjected to serious bodily injury. In violation of Title 18, United States

Code, Section 2241(c).

                                 FORFEITURE ALLEGATION

       A.      The allegations contained in Count 1 of this Indictment are hereby realleged and

incorporated by reference for the purpose of alleging forfeitures pursuant to Title 18, United

States Code, Section 2253.
        B.     Upon conviction of the offenses in violation of Title 18, United States Code,

Section 2241(c), set forth in Count 1 of this Indictment, the defendant,

                                LEROY THOMAS JOYNER,JR.,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 2253, any and

all property constituting or derived from proceeds defendant obtained directly or indirectly as a

result ofthe violations and any and all property used or intended to be used in any manner or part

to commit and to facilitate the commission of the offenses in violation of Title 18, United States

Code, Section 2241(c).

        C.     If any of the property described in this forfeiture allegation, as a result of any act

or omission of the defendant:

               (1)     cannot be located upon the exercise of due diligence;

               (2)     has been transferred or sold to, or deposited with, a third party;

               (3)     has been placed beyond the jurisdiction of the court;

               (4)     has been substantially diminished in value; or

              (5)      has been commingled with other property which cannot be divided
                       without difficulty,

the United States shall be entitled to forfeiture of substitute property pursuant to Title 21, United

States Code, Section 853(p), as incorporated by Title 28, United States Code, Section 2461(c).




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       All pursuant to Title 18, United States Code, Section 2253.

                                                   A TRUE BILL:




CJ"
LOUIS V.   KLIN, SR.
UNI D STATES ATTORNEY



Russell T. Duraski
Assistant Unitedtates Attorney



R. Randolph Neeley
Assistant United States Attorney
